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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


UNITED STATES OF AMERICA,               ) CASE NO. 1:18-CR-708
                                        )
                    Plaintiff,          ) JUDGE CHRISTOPHER A. BOYKO
                                        )
      v.                                )
                                        )
KENNETH TYSON,                          )
                                        )
                    Defendant.          )



                KENNETH TYSON’S SENTENCING MEMORANDUM




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       Defendant—and first-time offender—Kenneth Tyson hereby submits his Sentencing Mem-

orandum, requesting that the Court impose a probation-only sentence in this case. Such a sentence

is supported by the applicable sentencing guidelines, the mandatory § 3553(a) factors, and the facts

of this case. Further, a sentence of imprisonment would be, contrary to statute, “greater than [what

is] necessary” to achieve the statutory purposes of sentencing set forth in 18 U.S.C. § 3553(a)(2).

       Specifically, the Court should impose a probation-only sentence because Kenneth has zero

criminal history and a properly calculated final offense level of 4, placing him well within Zone A

on the sentencing table. In fact, even if his offense level were double what it properly is or his

criminal history category were tripled, he still would fall within Zone A. Further, Kenneth’s no-

loss crime—making one-off, easily contradicted false statements to federal interviewers who ar-

rived unexpectedly at his home in the early hours of the morning—was victimless. Kenneth is a

life-long contributor to his community and family. Those he cares for will suffer most from any

term of imprisonment. And at 50 years old, the chances of this first-time offender reoffending are

practically nonexistent. While Kenneth’s conduct was wrong and punishment must be imposed,

that punishment must be proportionate and just, i.e., it must reflect the unique circumstances of

this offense and take into account Kenneth’s otherwise laudable background and character.

I.     BACKGROUND
       Kenneth’s life has been dedicated to helping the less fortunate. The first-born child of two

loving parents, Kenneth was raised to serve others. From an early age, he helped neighbors take

care of their homes in Cleveland and volunteered in his church. After beginning a career in bank-

ing, Kenneth turned his attention to social action, returning to school to obtain a master’s degree

in community development from Case Western Reserve University. He leveraged this additional

education and career change to improve the living conditions of Clevelanders. He invested in

residential properties, transforming them into safe, well-cared-for homes and renting them largely


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to single mothers and their children. He also began a romantic and life partnership with another

professional, Celeste Jones, and undertook to start a family with her.

       As part of his graduate program, Kenneth interned at the Cuyahoga County Land Bank.

He made an excellent impression on his superiors there and was hired by the Land Bank full time

after completing his master’s degree. Unfortunately, it was during his tenure with the Land Bank

that Kenneth became the target of a misguided public-corruption investigation. A cooperator mis-

led the government and convinced it that something widespread and nefarious was afoot at the

Land Bank. But that cooperator turned out to be a career criminal and serial deceiver.

       Based on the misinformation provided by that deceptive informer, the government indicted

Kenneth on November 21, 2018, charging him with five counts of public-corruption and bribery-

related offenses. Kenneth was arraigned and released on an unsecured bond on December 7, 2018.

The government did not move for detention. A superseding indictment, charging the same of-

fenses but propounded in an attempt to remedy certain defects in its predecessor, was filed

February 5, 2020.

       Kenneth was innocent of the charges levelled against him in the indictments, but he was

not entirely blameless in his conduct with respect to the government’s investigation of those

charges. When awakened early one morning and questioned in his home by federal agents, a

frightened Kenneth, in a momentary lapse of judgment, falsely told the agents that he paid for

certain utility-repair work done on a home he owned. In short, the charges against him were false,

but he had in fact lied to the agents. So, with his motion to dismiss pending, Kenneth agreed to

plead guilty to a Supplemental Information charging a single count of Making a False or Fictitious

Statement in violation of 18 U.S.C. § 1001(a)(2). In exchange for the plea, the government agreed

to move to dismiss all counts in the original and superseding indictments.




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           The parties’ plea agreement does not include a jointly proposed sentencing range. Accord-

ingly, the parties were subsequently permitted by the Court to brief the issue of which guidelines

section should govern calculation of Kenneth’s offense level. This Court, in a February 1, 2021

opinion, held that § 2B1.1 governed calculation of Kenneth’s offense level and that “Guidelines

§ 2J1.2 is inapplicable” to Kenneth’s case.

           There is thus no question at this juncture but that § 2B1.1 governs calculation of Kenneth’s

base offense level. ECF # 132. And application of that guideline yields a final offense level of

four for Kenneth. With zero criminal history, he is very comfortably within Zone A of the Guide-

lines Sentencing Table, and thus a probation-only sentence is proper. A custodial sentence, by

contrast, would be a profound error. The Guidelines, § 3553, case law, the facts of the case, Ken-

neth’s commendable background and community service, and simple common sense are unani-

mous in commending a probation-only sentence here.

II.        ARGUMENT

      A.      The Sentencing Guidelines Result in a Zone A, Level 4 Calculation

           This Court has already held that Guidelines § 2B1.1, without reliance upon any cross-ref-

erences found therein, controls calculation of Kenneth’s base offense level. Pursuant to that sec-

tion, Kenneth’s base offense calculation—prior to application of any adjustments, enhancements,

departures, or variances, all of which the probation office has determined do not apply—is six.

Likewise, there is no dispute here but that Kenneth’s criminal history category is I. Indeed, Ken-

neth has no criminal history and thus he falls even on the low end of this lowest category. Ac-

cordingly, the Sentencing Guidelines make clear that Kenneth is well within the range of defend-

ants for whom a probation-only sentence is appropriate. Furthermore, as probation correctly de-




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termined, and as Kenneth has argued throughout the sentencing portion of this case, his final of-

fense level is lower still: Kenneth is entitled to a two-point downward adjustment for acceptance

of responsibly, thus yielding a final offense level of four.

       1. There is No Loss Amount Attributable to Kenneth’s False Statement Conviction.

       No pecuniary loss occurred in this case. And even if one had, it still could not be attributed

to Kenneth for sentencing purposes, as there is no evidence or allegation that his crime of convic-

tion—making a false statement to federal interviewers—caused any such loss. Probation squarely

agrees with Kenneth on this issue. See PSR, ECF # 133 at 20 (“[T]he probation officer does not

believe that there is an actual or intended loss associated with the instant count of conviction.”).

Any argument to the contrary by the government cannot be supported by law or fact.

       The Sixth Circuit has explained that “the Sentencing Guidelines import the legal concept

of a causal relationship between the defendant’s conduct and the determined loss.” United States

v. Rothwell, 387 F.3d 579, 583 (6th Cir. 2004). “Causation includes two distinct principles, cause

in fact, or what is commonly known as ‘but for’ causation, and legal causation.” Id. The govern-

ment has the burden to establish both cause in fact and legal causation by a preponderance of the

evidence. Id. at 582–83.

       Here, neither type of causation has been—or can be—established, i.e., Kenneth’s false

statement to the agents did not cause a “loss.” Indeed, even the defunct superseding indictment

makes clear that the “loss” alleged therein occurred years before the offense of conviction. Su-

perseding Indictment, ECF #106, at ¶¶ 30-53. Thus, we can say with certainty that Kenneth’s false

statement did not cause either loss.

       Nevertheless, the government argues that a financial loss is attributable to Kenneth for

sentencing purposes and should be calculated here based either on the supposed value of the home-

improvement services previously received by Kenneth ($6,765) or the value of the alleged contract


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that M.R. received ($35,284). Gov’t 11/13/20 Br. at 7. But both the home-improvement and the

alleged contract occurred in 2013, years before the false statements at issue in this case. As already

stated, then, this undeniable chronology renders the government’s loss argument a nullity. In ar-

guing otherwise, the government gets things backwards, asserting that the water line repair “ser-

vices” (which comprised a portion of the supposed $6,765 home-improvement services “loss”)

“were the basis for Tyson’s lie and are therefore relevant to the loss calculation.” Id. To attribute

loss to Kenneth for sentencing purposes, the law plainly requires that Kenneth’s false statement

have caused the “loss,” i.e., the home repairs. But the government’s argument is the opposite: the

home repairs caused the false statement.

       On this loss issue, Kenneth’s case is on all fours with United States v. Griffith, 115 F. Supp.

3d 726 (S.D. W. Va. 2015). There, defendant Griffith lied to IRS agents regarding his knowledge

of any cash kickback payments accepted by him in the past. Id. at 729-730. The court held that

Griffith, who, like Kenneth, pled guilty to making a false statement in violation of 18 U.S.C.

§ 1001, was not responsible, for sentencing purposes, for loss attributable to a related kickback

scheme involving payments made by vendors years prior. Id. at 732. Further, the court held that

the kickback scheme and its associated loss were not relevant conduct or part of the same course

of conduct or plan as Griffith’s offense of conviction, because his offense occurred on the specific

date that he made a false statement to IRS agents, the kickback scheme had terminated roughly

four years prior to that date, and, although Griffith’s false statement involved denial of his receipt

of kickbacks, the kickback scheme was not, for sentencing purposes, part of or related to the sub-

stantive offense of conviction, i.e., the false statement conviction. Id. at 735. Here, just like in

Griffith, Kenneth made a false statement concerning transactions that had occurred years prior,




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and the years-later false statement cannot somehow transcendentally be deemed the cause of the

earlier “loss.”

        Finally, and even more fundamentally, neither the $6,765 sum nor the $35,284 sum floated

by the government constitutes a “loss”—actual, intended, or otherwise—under the Guidelines.

Indeed, Application Note 3 to § 2B1.1 expressly limits “loss” to “pecuniary harm.” (Emphasis

added). The government’s $6,765 figure is the supposed value of the home-repair services Ken-

neth received. But the (soon-to-be-dismissed) indictments do not allege that the contractors who

performed these services were stiffed. To the contrary, they allege that Kenneth’s purported co-

conspirator, M.R., paid the bills. Accordingly, no one “lost” $6,765—or any sum—with respect

to the long-ago home repairs. Likewise, the $35,284 figure represents the value of the Land Bank

contracts purportedly awarded to M.R., but there has never been any evidence—or even any alle-

gation—that M.R. failed to perform under the contracts or that the Land Bank suffered “pecuniary

harm” vis-à-vis the services provided by M.R. No “victim” has come forward to assert a loss. In

short, there was no loss of any kind here, let alone a loss caused by Kenneth’s false statement. The

government’s argument to the contrary is meritless.

        2. The Obstruction-of-Justice Enhancement Pursuant to § 3C1.1 Does Not Apply

        Probation accurately determined that no obstruction enhancement applies to Kenneth. Spe-

cifically, the PSR notes, “There is no information indicating the defendant impeded or obstructed

justice.” PSR, ECF #133 ¶ 18. But the government nevertheless will likely continue its misguided

and legally unsupported arguments in favor of such enhancement. Those arguments should be

rejected. There is no evidence or allegation in the record that Kenneth obstructed the “investiga-

tion, prosecution, or sentencing” of his pending false-statement conviction. Application of the

obstruction enhancement here would constitute forbidden double counting.




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              i.   Kenneth’s conduct does not even satisfy the minimum threshold to consider
                   § 3C1.1 as a viable enhancement

       Kenneth did not “willfully obstruct[] or impede[], or attempt[] to obstruct or impede, the

administration of justice with respect to the investigation, prosecution, or sentencing of the instant

offense of conviction.” U.S.S.G § 3C1.1 (emphasis added). In the Sixth Circuit, application of

§ 3C1.1 is limited, as the text of the Guideline plainly requires, to circumstances where the ob-

structive act occurs “during the investigation, prosecution, and sentencing of the instant offense,

i.e. the offense for which the defendant is being sentenced under the guidelines.” United States v.

Crousore, 1 F.3d 382, 384 (6th Cir. 1993). Here, the “instant offense of conviction” is Kenneth’s

2018 false statement, not the specious bribery scheme that purportedly occurred five years earlier

and has since been abandoned by the government. Therefore, for § 3C1.1 to apply, Kenneth’s

supposedly obstructive actions must have occurred during the investigation, prosecution, or sen-

tencing of the instant offense, i.e., the false statement. See, e.g., United States v. Horry, 49 F.3d

1178, 1181 (6th Cir. 1995) (obstruction must occur solely with respect to the offense of convic-

tion); United States v. Partee, 31 F. 3d 529, 531 (7th Cir. 1994) (“This court has defined ‘instant

offense’ to refer ‘solely to the offense of conviction.’” (internal citations omitted)); United States

v. Bagwell, 30 F.3d 1454 (11th Cir. 1994) (“The plain language of the relevant portion of the

provision requires that the obstructing conduct occur ‘during the investigation . . . of the instant

offense’—that is, the offense of conviction.”). In other words, in order for § 3C1.1 to apply here,

Kenneth would have had to have destroyed evidence of the false statement, perjured himself re-

garding the false statement, or taken some similar action with respect to the investigation of the

false statement. 1 There are no facts to support any such finding.


1
 The Sixth Circuit has set the outer reaches of the enhancement to include circumstances where a
defendant obstructed justice during pending court proceedings very closely related to—but not



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             ii.   Application of the enhancement would constitute impermissible double count-
                   ing

       Along similar lines, applying the § 3C1.1 enhancement here would amount to impermissi-

ble double counting. “[A] court cannot increase the guideline range by applying the same conduct

to multiple guideline provisions.” United States v. Oliver, 989 F.2d 501 (6th Cir. 1993). That is,

an enhancement cannot be added to a sentence if exactly the same conduct is relied upon to deter-

mine the base offense level and that enhancement. United States v. Sabino, 307 F.3d 446 (6th Cir.

2002). “[T]he established rule in this circuit is that impermissible double counting occurs when

precisely the same aspect of a defendant’s conduct factors into his sentence in two separate

ways.’” Id. at 450 (internal citations and quotation marks omitted); see also United States v. Duke,

870 F.3d 397, 404 (6th Cir. 2017) (same).

       Here, the only arguably “obstructive” conduct the government can point to is the false

statement made to agents in Kenneth’s kitchen on October 10, 2018. But that very act is also the

sole basis for the false statement offense itself. The government has not alleged—and indeed,

there is no basis for such an allegation—that Kenneth engaged in any obstructive conduct relevant

to the prosecution of this false statement. Application of § 3C1.1 here would thus fly in the face

of the rule against double counting.




technically one-and-the-same as—the prosecution of the defendant for the offense at issue. In
United States v. Walker, 119 F.3d 403, 406-07 (6th Cir. 1997), for example, the defendant perjured
himself at his co-defendant’s trial. The Court held that, by so doing, the defendant clearly intended
to impede the same investigation that resulted in his plea and conviction. See also United States
v. Nesbitt, 90 F.3d 164 (6th Cir. 1996) (upholding obstruction enhancement where defendant lied
at civil forfeiture proceeding related to his criminal trial). Of course, no such circumstances are
present here. Kenneth was not a part of any other related proceedings, he has not been asked to
testify at a hearing, nor has any other individual been indicted in connection with the false state-
ment. Nor, a fortiori, has he acted to obstruct any such proceedings. Accordingly, Walker and
Nesbitt do not apply.



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       3. The Ancient, Specious Bribery Theory—Previously Abandoned by the Govern-
          ment—Is Not Relevant Conduct for Purposes of the False-Statement Conviction

       Kenneth will plead guilty to a single count of making a false statement. This statement—

made five-years after the alleged underlying conduct—should be the sole consideration for pur-

poses of the guideline calculation. The government’s defunct bribery-related charges are irrelevant

to sentencing.

       The Sentencing Guidelines commentary provides the following guidance:

       Factors that are appropriate to the determination of whether offenses are sufficiently
       connected or related to each other to be considered as part of the same course of
       conduct include the degree of similarity of the offenses, the regularity (repetitions)
       of the offenses, and the time interval between the offenses. When one of the above
       factors is absent, a stronger presence of at least one of the other factors is required.
       For example, where the conduct alleged to be relevant is relatively remote to the
       offense of conviction, a stronger showing of similarity or regularity is necessary to
       compensate for the absence of temporal proximity.

U.S.S.G. § 1B1.3 cmt. 5(B)(ii). The Sixth Circuit, in examining the same-course-of-conduct issue,

has adopted the commentary’s approach, citing the three factors set forth there and describing them

as operating on a “sliding scale.” United States. v. Hill, 79 F.3d 1477, 1482 (6th Cir. 1996).

       But no sliding or rebalancing is necessary here, as all of these factors show that the aban-

doned bribery allegations are irrelevant to Kenneth’s false-statement conviction and sentence. Re-

garding degree of similarity, the two sets of allegations—government-program bribery and making

a false statement to a federal investigator—are apples and oranges. As to regularity or repetition,

neither the purported bribery nor false statement was ever repeated. And as to “the time interval

between offenses,” the two occurred (assuming, counterfactually, the veracity of the government’s

discarded bribery allegations) five years apart.

       Examination of case law confirms this analysis and the conclusion that the old bribery

allegations have no place in this false-statement case. In United States v. Kappes, 936 F.2d 227,




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230 (6th Cir. 1991), the Sixth Circuit held that two acts six years apart were not part of the same

course of conduct, even where, unlike here, both involved similar misstatements:

        The fact that Kappes may not have been in a position to commit the second offense
        if he had not committed the first offense does not, by itself, make the second offense
        “part of the same course of conduct or common scheme or plan” as the first offense.
        If this type of “but for” reasoning were to gain acceptance, the relevant conduct
        provision would assume increasingly broad proportions.

Id. at 230.

        And in United States v. Griffith, 115 F. Supp. 3d 726 (S.D. W. Va. 2015), discussed above,

the court held that the defendant—who had pled guilty to making a false statement—was not re-

sponsible, for sentencing purposes, for loss attributable to an earlier kickback scheme involving

payments made by vendors to defendant and others. Id. at 732. The Griffith court explained:

         Defendant’s offense of conviction is making a false, fictitious, or fraudulent state-
        ment or representation . . . in violation of 18 U.S.C. § 1001(a)(2). The Scheme—
        while at least part of the object of Defendant’s false statement to IRS special
        agents—is not the offense of conviction. . . . Additionally, Defendant’s involve-
        ment in the Scheme terminated roughly four years prior to the false statement that
        forms the basis for Defendant’s offense of conviction. . . . The Scheme therefore
        did not “occur [ ] during the commission of the offense of conviction, in preparation
        for that offense, or in the course of attempting to avoid detection or responsibility
        for that offense.”

Id. at 733. See also U.S.S.G. § 1B1.3(a)(1).

        Kenneth is similarly situated, except that in Griffith, unlike here, there was at least a mini-

mal indication that the purported bribery scheme had actually occurred. Thus, like in Griffith, the

previously alleged (and, here, baseless, and subsequently abandoned) underlying conduct at issue

should not be considered relevant conduct for sentencing. 2


2
  Kenneth urges the court to go even further and order Probation to delete the Bribery scheme from
the PSR. In United States v. Herlihy, 336 F.R.D. 217 (D.N.M. 2020), the court—under similar
circumstances—did just that. In Herlihy, the court was faced with the issue of whether a $16.5
million dollar loan to improve and renovate a truck stop and a $5.5 million Ponzi scheme were
conduct relevant to the offense of conviction: making a false statement to a bank. Id at 221. The



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       4. The Court Should Not Consider the Dismissed Conduct in Rendering a Sentence
          Because the Government’s Allegations Cannot be Supported by a Preponderance
          of Evidence

       Kenneth’s sentence should be based on his false statement, not the unsupported dismissed

conduct. “[F]or any disputed portion of the presentence report or other controverted matter,” the

court “must . . . rule on the dispute or determine that a ruling is unnecessary.” Fed. R. Crim. P.

32(i)(3)(B). Kenneth disputes the veracity of the allegations set forth in the to-be-dismissed In-

dictment and Superseding Indictment. Kenneth’s PSR sentencing calculation is properly based

only on the false statement, not the ancient, far-fetched bribery scheme. 3

       The Court should decline to consider dismissed conduct as relevant to sentencing here.

Though the government alleged that Kenneth shepherded M.R. through the Land Bank demolition

contractor application process, in truth, the government’s own witnesses and investigation estab-

lish otherwise.




       M.R.’s business was vetted through the ordinary process, with no undue influence. The

underlying allegations of criminal conduct are patently false.


court not only answered that question in the negative, it also ordered the PSR purged of reference
to the irrelevant conduct Id. at 232-233. For the same reason, Kenneth requests that this Court
instruct probation to remove the narrative portions associated with the purported bribery scheme
from the PSR.
3
  The PSR details the underlying conduct in the Offense Conduct section. See Final PSR dated
March 2, 2021 ECF #133 at ¶¶ 10-16. But the sentencing calculation is based solely on the false
statement conduct and conviction. Id at ¶¶ 21-29. Therefore, it is clear that Probation does not
deem the underlying conspiracy conduct as Relevant Conduct. Rather, its inclusion is meant as
background information to provide the court context to the count of conviction, regardless of the
truth of the allegations. Id at PageID # 1465.



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merous crimes involving deception and dishonesty.” See Gov’t. Resp. to Def.’s Mot. to Termi-

nate Supervised Release at 3,

                      Thus, not only do the allegations fail to align with the government’s own rec-

ords, they also are based on the word of a man whom, according to the government, cannot be

trusted.

           True, there is no requirement at the sentencing stage that every fact that might relate to a

sentencing enhancement be proved beyond a reasonable doubt or that the Court scrupulously ad-

here to the rules of evidence. Nevertheless, U.S.S.G. § 6A1.3(a) makes clear that, even at this

somewhat more permissive stage of the case, a “court may consider relevant information without

regard to its admissibility under the rules of evidence applicable at trial” only if “that . . . infor-

mation has sufficient indicia of reliability to support its probable accuracy.” (Emphasis added).

Here, the information is neither relevant nor reliable. The government’s appropriate and voluntary

motion to dismiss all charges related to the purported bribery conduct highlights that fact.

    B.        The Applicable § 3553(a) Factors Also Show that a Probation-Only Sentence Is
              Warranted

           As with the applicable Sentencing Guidelines range, here the § 3553(a) factors, too,

strongly favor a probation-only sentence for Kenneth.

           Congress mandates that courts “impose a sentence sufficient, but not greater than neces-

sary” to accomplish the purposes listed in 18 U.S.C. § 3553(a). In the Sixth Circuit, after calcu-

lating the applicable Guidelines sentencing range, “the district court throws this ingredient into the

section 3553(a) mix,” taking into account all of the other factors listed in 18 U.S.C. § 3553(a).

United States v. Collington, 461 F.3d 805, 807 (6th Cir. 2006) (citation omitted). Considering all

the § 3553(a) factors, the Court tailors a sentence to be just enough to accomplish the goals of

sentencing in light of all the characteristics of the individual standing before them and the crime


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committed. Pepper v. United States, 562 U.S. 476, 487 (2011). A sentence that is too severe fails

to promote respect for the law and is unjust. United States v. Marshall, 870 F. Supp. 2d 489, 493

(N.D. Ohio 2012). Since every sentence must be individually tailored, a sentencing court may not

presume that the Guidelines range is reasonable. See, e.g., Gall v. United States, 552 U.S. 38, 50

(2007) (courts must make “an individualized assessment based on the facts presented”).

       “[T]he punishment should fit the offender and not merely the crime.” Williams v. New

York, 337 U.S. 241, 247 (1949). In light of Kenneth’s profoundly positive history and character-

istics, the particular context of his offense, his acceptance of responsibility, his exemplary behavior

while on supervision, the extremely low likelihood of recidivism, and the other circumstances

unique to this case, a sentence of probation will fulfill the statutory mandate and is the just result

here; a sentence of incarceration would be “greater than necessary.”

       1. Kenneth’s History and Characteristics, and the Nature and Circumstances of the
          Offense, Favor a Probationary Sentence

       Section 3553(a)(1) requires a court to consider, “in determining the particular sentence to

impose,” “the nature and circumstances of the offense and the history and characteristics of the

defendant.” These considerations weigh strongly in favor of a probation-only sentence here. As

to the nature and circumstances of the offense, Kenneth’s false statement—while undoubtedly

wrongful—was isolated and not premeditated. Federal agents woke Kenneth with knocks on his

door at 7:05am on October 10, 2018. Kenneth—who had never had any similar experience with

law enforcement, let alone federal agents—was startled and taken aback. To be helpful, and

against his better judgment to first consult an attorney, Kenneth invited the agents into his home

and answered their questions about events that had occurred five years earlier. Fear and anxiety

got the better of Kenneth in the moment, and he made the false statements at issue. The statements




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were not pre-planned and occurred during a single, minute-long exchange. The false statements

were easily disproven by investigators and did not result in harm to any individual.

       Regarding Kenneth’s “history and characteristics,” setting this singular incident aside, he

has lived an admirable, even exemplary, life. The first-born son of hard-working parents, Kenneth

was raised in a devoted and church-going Cleveland family. His parents provided a loving home

built on a commitment to family, hard work, and self-improvement that fundamentally shaped

Kenneth’s life. See PSR, ECF # 133 at ¶ 39. Kenneth is now 50 years old.

       Kenneth’s core values of hard work and civic mindedness permeate his life story.            His

father introduced him to property management, not only as a means of personal ownership but,

more importantly, as a means to give back to, and improve, the community. At a young age,

Kenneth helped his father by mowing the lawns and performing maintenance work at the family’s

rental properties in Cleveland. These experiences formed the foundation of Kenneth’s passion for

entrepreneurship and community revitalization.

               i. Education, real-estate development, and the Land Bank

       Kenneth attended the Ohio State University and graduated with a bachelor’s degree from

the Fisher College of Business. See PSR, ECF #133 at ¶ 45. After graduation, he was recruited

into the management training program at Bank One. He later left commercial banking to devote

himself full-time to real-estate development, first investing in residential properties and later open-

ing a Donato’s pizzeria franchise. He built the pizza shop from scratch, securing the real estate

and repurposing the site (a former gas station). 5 A major factor in his success at the pizza shop

was his respect for his employees. Kenneth looked out for them, providing bonuses, time-off, and

the assurance that they would have the opportunity to work and be paid for every shift they were


5
  The State of Ohio awarded Kenneth an adaptive use award for his transformation of a former gas
station into a restaurant.


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scheduled for. After ten years, Kenneth sold the shop and focused his efforts on residential real

estate development, specifically providing safe and affordable housing to some of the most vul-

nerable members of our community.

       Kenneth’s interest in housing policy led him back to school in the form of a community-

development master’s program at Case Western. The graduate program trained individuals to

transform communities with high rates of poverty. While in the program, Kenneth focused his

studies on housing policy and its impact on underserved communities. In 2011, Kenneth graduated

with a Master of Science in Social Administration degree with a concentration in community prac-

tice. See PSR, ECF #133 at ¶ 45. He put what he learned to good use in his work with the

Cuyahoga County Land Bank and in his personal real-estate business.

       The Land Bank presented Kenneth with the opportunity to put his studies to practical use.

The Land Bank was formed in 2009 in direct response to the foreclosure crisis. Kenneth wanted

to play a part in the Land Bank’s mission of rebuilding and restoring Cuyahoga County’s hardest

hit communities. His hard work and devotion did not go unnoticed, and he worked his way up

from intern to Property Specialist. He assisted in administering the Cuyahoga County Prosecutor

Demolition Fund, the Ohio Attorney General Demolition Program, and the U.S. Environmental

Protection Agency Pilot program. In addition, he administered the Land Bank’s Side Lot Program,

drafted demolition specifications, and worked on many other projects all aimed at improving

Cuyahoga County and rebuilding the most vulnerable and under-served communities.

              ii. CLB Services employment and felon re-entry program

       In 2014, the Land Bank launched a for-profit subsidiary, CLB Services (“CLB”), designed

to improve the asbestos-remediation process in Cuyahoga County. Land Bank executives asked

Kenneth to head up CLB. Kenneth used his new position not only to benefit CLB clients but also




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to offer employment opportunities to a chronically underemployed population—formerly incar-

cerated individuals. Kenneth wanted to provide members of this vulnerable population with the

opportunity to earn a living wage while learning a specialized skill. He partnered with an existing

organization that provided reentry support. With Kenneth at the helm, CLB paid for the training

and equipment that each person needed before he or she could learn, practice, and then earn income

from the skill of asbestos remediation. The first two individuals enrolled in Kenneth’s program

completed it successfully and received the necessary licensure. They succeeded not only within

Kenneth’s program but went on to secure outside labor-union employment.

       Kenneth, as Executive Director of CLB, funded the training of additional individuals who

successfully acquired their abatement licenses. Kenneth employed them through CLB, providing

them not only with tools and training, but also with a positive work experience. Kenneth was

hands-on and frequently visited the work sites. He was personally invested in the success of his

employees, and his oversight facilitated the development of their professional responsibility and

skills. CLB’s former-inmate training program—entirely Kenneth’s voluntary creation—allowed

individuals who faced significant challenges in securing gainful and reliable employment to ac-

quire a skill, licensure, equipment, accountability, and, ultimately, honest self-sufficiency.

Through steadfast and lawful work, these reentry program participants could rebuild their lives,

put food on the table, pay their bills, and contribute to their families. Kenneth created and nurtured

this program because that is the type of person he is: a man seeking to lift up others. 6




6
 At the end of 2019, CLB closed its doors as the real estate market recovery continued, funding
earmarks shifted, and demolitions decreased. Kenneth is proud of the good work done by both
CLB and the Land Bank.


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               iii. Housing Investments and Redevelopment

       Kenneth brings this same commitment of helping others to his work managing his own

rental properties. Kenneth’s investment philosophy is to make significant improvements up front.

This reduces long-term costs and, more importantly, provides for better living conditions for his

tenants. As real estate agent, Yvette Head, attests in her character letter, Kenneth has “truly made

a difference in some of our customer’s lives by giving them a chance to come from low-income

housing and move into a thriving community.” Character Letter from Yvette Head, Ex. H.

       Kenneth personally manages all aspects of his properties from renovation to regular

maintenance and tenant relations. He reduces rent when necessary and accepts partial payments

throughout the month in order to provide stable housing to individuals who might otherwise have

a difficult time finding a safe and comfortable place to live. During the COVID-19 pandemic, he

has rented to front-line essential workers and single mothers raising young children. Any period

of incarceration that takes Kenneth away from his properties will have a disproportionate negative

impact on his housing-insecure tenants’ access to well-maintained, affordable housing.

               iv. Family, Faith, and Service

       Kenneth’s dedication to others is reflected not only in his professional life, but in his per-

sonal life as well. Kenneth’s partner, Celeste Jones, wrote to the Court that Kenneth “is a kind and

loving man rooted in Christian principles and showing high integrity and great character.” Char-

acter Letter from Celeste Jones, Ex. I. She attests to his dedication to the New Community Chris-

tian Bible Fellowship, where he serves as a greeter and usher. He raises funds for local homeless

shelters through his membership with the Men’s Golf Team. She also discusses his status as a

Cleveland Bridge Builders Leadership Program alumnus. He is an exceptionally hard worker and

“leads by example.” Id.




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        Marva Dodson—Celeste’s mother—also speaks highly of Kenneth’s character. Kenneth

provides needed emotional support in times of grief and a practical support with home repairs.

Kenneth provided significant charitable support to Ms. Dodson’s causes. For example, Kenneth

commuted from Cleveland Heights to Massillon, Ohio to routinely assist Marva’s food drives.

Originally, he assisted once a month, but due to the success of the program he was needed twice a

month (the first and third Saturday of each month). Marva notes in her letter to the Court that

Kenneth “served as a volunteer with Cleveland’s City Mission serving meals to the Homeless. He

has been there as a support to me during my illness and to us as a family in the passing of loved

ones not by just attending services but by supporting us emotionally and many times financially.”

Character Letter from Marva Dodson, Ex. J.

        Further, when Kenneth’s best friend from high school, Robert D., became drug addicted

and homeless, Kenneth arranged for Robert’s enrollment in the City Mission’s residential recovery

program. After completing the program, Kenneth found a sober living house for Robert in Cleve-

land.

        Kenneth’s dedication to his own biological family is just as strong. The Tyson family is

small and close. Kenneth’s parents, married for over 50 years, recently retired to Mississippi.

They have medical issues that require Kenneth to step in and take care of them from time to time.

Kenneth also maintains his parents’ Cleveland home and is an ally to his younger, single sister,

who relies on him for advice and support. For example, Kenneth dropped everything and drove

his sister to Texas just because he did not want her to be alone for the drive. Character Letter from

Karen Tyson, Ex. K. Kenneth also looks after his cousin, Chester Mack, Jr., a veteran and disabled

stroke victim. Chester currently lives at the VA nursing home in Sandusky. Kenneth manages

Chester’s finances, making sure that all his bills are paid on time. Kenneth also takes care of




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Chester’s home in his absence, personally performing upkeep and repairs so that the home is well-

maintained. For example, Kenneth expends his own financial resources to replace and maintain

the CO2 detectors and fire alarms. Kenneth even responded to neighbors’ complaints regarding

the broken front door. Kenneth paid for and fixed the door immediately. This gives Chester, as

well as the rest of the family, security, and peace of mind.

       2. A Probationary Sentence Would Comply with the Purposes of Sentencing Found
          in § 3553(a)(2)

       The Guidelines also require the Court to consider “the need for the sentence imposed to

reflect the seriousness of the offense, to promote respect for the law, and to provide just punish-

ment.” See 18 U.S.C. § 3553(a)(2)(A). Additionally, the Court must consider the need for the

sentence imposed to adequately deter criminal conduct; protect the public from further crimes of

the defendant; and to provide the defendant with needed training and treatment in the most effec-

tive manner. See 18 U.S.C. § 3553(a)(2)(B)–(D). All of these considerations weigh in favor of a

probationary sentence as well.

               i. Need for the Sentence Imposed to Reflect the Seriousness of the Offense, Pro-
                  mote Respect for the Law, and Provide Just Punishment

       A sentence of probation will adequately reflect the seriousness of the offense, promote

respect for the law, and provide a just punishment.

       Regarding promotion of respect for the law, “a sentence of imprisonment may work to

promote not respect, but derision, of the law if the law is viewed as merely a means to dispense

harsh punishment without taking into account the real conduct and circumstances involved in sen-

tencing.” Gall v. United States, 552 U.S. 38, 54 (2007) (quotation marks and citation omitted).

Kenneth has shown respect for the law by maintaining a law-abiding lifestyle—with the exception




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of this lone conviction at 50 years old. Kenneth has also adhered to all pre-trial monitoring re-

quirements set forth by this Court, including travel approvals for medical appointments in New

York and compliance with those restrictions. In light of Kenneth’s conduct, a sentence of proba-

tion will best serve the principles and purposes of sentencing here.

       As to the seriousness of the offense and the requirement that punishment be just, Kenneth

made a false statement to agents for which he accepts full responsibility. While his false statement

was undoubtedly wrongful, it did not ultimately undermine the investigation. Indeed, Kenneth

was indicted (on the baseless, to-be-dismissed charges in the original indictment) within a few

weeks of this interview. Any harm was truly minimal. Consistent with other cases, a sentence of

probation would be just and not demean the seriousness of the offense. See Part B, § 3, infra.,

Comparative Cases Table, Ex. L.

         All indicators support that this compliance will continue with a sentence of probation. In

the years that have passed since he made his false statement to investigators, Kenneth has reflected

and thought deeply about his actions that have brought him before this Court. With no criminal

history, the prospect of incarceration has weighed heavily on Kenneth. Even without imprison-

ment, Kenneth faces the consequences of a felony conviction, for which he accepts responsibility.

               ii. Need to Afford Adequate Deterrence and Protect the Public from Further
                   Crimes of the Defendant

       Section 3553(a)(2)(B) likewise requires a sentencing court to properly weigh “the need . . .

to afford adequate deterrence” when fashioning a sentence. As the Supreme Court has said,

whether a defendant is likely to “engage in future criminal conduct [is] a central factor that district

courts must assess when imposing sentence.” Pepper, 562 U.S. at 492. Here, Kenneth’s age and

the fact that this is his first offense, combined with his acceptance of responsibility and remorse,

strongly suggest that he will not reoffend. As a 50-year-old offender, Kenneth has an exceptionally



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low risk of recidivism. “The Sentencing Commission has observed that ‘[r]ecidivism rates decline

relatively consistently as age increases.’” United States v. Payton 754 F.3d 375 (6th Cir. 2014).(ci-

tations omitted) See also, United States v. Ward, 814 F.Supp. 23 (E.D.Va. 1993) (finding defendant

refrained from commission of his first crime until age 49 was a meaningful factor in imposing

sentence).

       In fact, a significant portion of the metrics regarding recidivism kept by the Sentencing

Commission place Kenneth in the category of least likely to reoffend. Recently, the Sentencing

Commission found that “[o]lder offenders were substantially less likely than younger offenders to

recidivate following release.” United States Sentencing Commission, Effects of Aging on Recid-

ivism among Federal Offenders (2017) available at https://www.ussc.gov/sites/default/files/pdf/

research-and-publications/research-publications/2017/20171207_Recidivism-Age.pdf.           Further-

more, “[a]ge and criminal history exerted a strong influence on recidivism. For offenders in Crim-

inal History Category I, the rearrest rate ranged from 53.0 percent for offenders younger than age

30 at the time of release to 11.3 percent for offenders age 60 or older.” Id. This “pattern is con-

sistent across age groups.” Id. “[A]s age increases recidivism by any measure decline[s].” Id.

The study also found that “there was some association between the length of the original federal

sentence and rearrest rates. Offenders with the shortest imprisonment sentences, of up to six

months, had the lowest rearrest rates for four of the five age groups studied.” Id.

       Conversely, the disparate harmful effects that incarceration has on older offenders can

hardly be overstated. For older prisoners who are unfamiliar with prison culture, “the prison sen-

tence represents nothing short of a disaster, a catastrophe, and, in consequence, they are often in a

psychological state of trauma.” Elaine Crawley and Richard Sparks, Older Men in Prison: Sur-

vival, Coping, and Identity, in the Effects of Imprisonment, 343, 346-47 (Alison Liebling and




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Shadd Maruna eds., 2005). Here, then, a term of incarceration is not only unnecessary to satisfy

the sentencing objectives set forth in 18 U.S.C. § 3553, it would be contrary to that statute.

       The Guidelines are in accord with the statute on this point, explicitly urging trial courts to

carefully consider “imposing a sentence other than imprisonment in cases in which the defendant

is a first offender who has not been convicted of a crime of violence or an otherwise serious of-

fense[.]” 28 U.S.C. § 994(j); U.S.S.G § 5C1.1, Application Note 4 (“If the defendant is a nonvio-

lent first offender and the applicable guideline range is in Zone A or B of the Sentencing Table,

the court should consider imposing a sentence other than a sentence of imprisonment.”). A defend-

ant like Kenneth should reserve more lenient treatment in light of his law-abiding life. See United

States v. Duane, 533 F.3d 441, 453 (6th Cir. 2008) (The Court permitted a 57-year-old defendant

to argue that even a category I “overstated his criminal history to some degree.” The Court sup-

ported the argument that a defendant with no criminal history deserved more lenient sentencing.)

       Further, probation is often sufficient punishment to deter criminal conduct. Probation as a

deterrent—and punishment—was specifically contemplated by Congress in enacting Section

3553(a): “It may very often be that release on probation under conditions designed to fit the par-

ticular situation will adequately satisfy any appropriate deterrent or punitive purpose.” United

States v. Edwards, 595 F.3d 1004, 1016 n. 9 (9th Cir. 2010) (internal citation and quotation marks

omitted). A sentence of probation is onerous and often sufficient because it places “a substantial

restriction of freedom.” Gall v. United States, 552 U.S. 38, 44 (2007) (though “custodial sentences

are qualitatively more severe than probationary sentences of equivalent terms, offenders on pro-

bation are nonetheless subject to several standard conditions that substantially restrict their lib-

erty”). Probationers must adhere to conditions and notify or receive permissions to conduct ordi-

nary activities such as moving or changing jobs, permit unannounced visits to their homes, refrain




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from associating with any person convicted of a felony, refrain from excessive drinking, and many

other “special conditions” the court may impose. Given the circumstances of this case, a sentence

of probation for Kenneth’s conduct will sufficiently deter future misconduct and protect the public.

               iii. Need to Provide for Kenneth’s Medical Care

       The sentence imposed must also ensure that “needed . . . medical care” is provided “in the

most effective manner.” 18 U.S.C. § 3553(a)(2)(D). A within-Guidelines probation-only sentence

is rendered still more appropriate here in light of Kenneth’s medical needs. Not only is Kenneth

far older than the average first-time offender,




       In short, while Kenneth is by no means elderly or terminally ill,

                                                  . And, unfortunately, according to the Department

of Justice’s own Office of Inspector General, the Bureau of Prisons consistently fails to treat med-

ical problems under normal circumstances, to say the least of its breakdown in handling COVID-

19 outbreaks. A 2008 OIG audit found that, at a number of institutions, the Bureau of Prisons “did

not provide required medical services to inmates.” Among other things, the BOP provided inade-

quate treatment for chronic conditions, failed to properly monitor side effects of medication, and

utilized unqualified providers. See DOJ OIG, The Federal Bureau of Prison’s Efforts to Manage




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Inmate Health Care, ii-xix, 32-34 (2008), available at www.justice.gov/oig/reports/BOP/a0808/fi-

nal.pdf. Furthermore, according to the Justice Department itself, “BOP institutions lack appropri-

ate staffing levels to address the needs of an aging inmate population and provide limited training

for this purpose.” U.S. Justice Dept. Report (May 2015) The Impact of An Aging Prisoner Popu-

lation on the Bureau of Prisons, Executive Summary Found at https://oig.justice.gov/reports/2015/

e1505.pdf.

       Because there is a significant risk that a prison sentence would bring with it unintentional,

but severe, negative medical consequences for Kenneth, this factor also weighs strongly in favor

of a probation-only sentence.

               iv. COVID-19 in Prisons

       The ongoing COVID-19 pandemic is yet another reason why Kenneth should not be incar-

cerated. As the Court is already well aware, the pandemic is a nationwide—indeed, global—crisis

the likes of which have never been seen in living memory. As of today, over 115 million people

globally—including more than 28 million in the United States—have been diagnosed with the

virus. 7 This includes more than 832,000 Ohioans. 8 The virus is unusually contagious and poses

a significant risk of death to those who contract it—particularly those with pre-existing conditions

that make them more susceptible to the virus’s effects. As crucial as a no-holds-barred approach

to the coronavirus is to the well-being of the public as a whole, it is even more essential to incar-

cerated populations. The CDC has noted that, due in part to their close, continual proximity, peo-

ple in nursing homes and long-term-care facilities are especially susceptible to contracting




7
 Johns Hopkins Coronavirus Resource Center (March 3, 2021), https://coronavirus.jhu.edu.
8
 Ohio Dep’t of Health Coronavirus Resource Page (March 3, 2021), https://coronavirus. ohio.gov/
wps/portal/gov/covid-19/home.


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COVID-19. 9 And as Yale School of Public Health Professor Gregg Gonsalves recently stated,

“[y]ou can think of our prisons as sort of nursing homes with bars . . . . If we’re talking about a

similarly aging population in our jails here, you’re talking about a carceral version of the same

situation as you have in Washington State [where nursing homes have been the sites of large

COVID-19 outbreaks].” 10 The close, continuous confines of a prison, in other words, are an almost

ideal environment for the spread of the coronavirus.

        Locally, the Northern District has recognized the imperative need for distancing measures

to stop the spread of COVID-19, some of which cannot be accomplished at an institution. On

April 22, 2020, Judge Gwin, in ordering the release of inmates, recognized that due to “the shock-

ingly limited available testing and the inability to distance inmates, COVID-19 is going to continue

to spread, not only among the inmate population, but also among the staff.” Wilson v. Williams,

No. 4:20-cv-794 (N.D. Ohio 2020) , Doc # 22, PageID # 354. Judge Gwin reiterated again on May

19, 2020, that “[d]istancing has been, and continues to be, the institution’s best hope for sparing

medically-vulnerable inmates from the serious medical consequences, and potential death, associ-

ated with COVID-19.” Wilson v. Williams, No. 4:20-cv-794 (N.D. Ohio 2020), Doc # 85, PageID

# 1125.

        In a scathing rebuke of the BOP’s position, Judge Gwin ordered the BOP to relax their

guidelines and grant release to a larger inmate population consistent with his original order. 11 Id.


9
  CDC, Groups at Higher Risk for Severe Illness, https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
precautions/groups-at-higher-risk html.
10
   Lyons, Kelan, Elderly prisoners in Connecticut vulnerable to potential coronavirus outbreak,
Hartford Courant (Mar. 11, 2020), https://www.courant.com/coronavirus/hc-pol-coronavirus-connecticut-pris-
ons-20200311-ote3jd6orje77ipl44qgi3bb6i-story html.
11
   Judge Sarah Morrison and Judge Dan Polster ordered the release of several detainees recently
in ICE custody due to concerns about COVID-19 spreading through jails and prisons. Heisig,
Eric, ACLU asks judge to release 20 ICE detainees from central Ohio jail with dozens of corona-
virus cases, Cleveland.com (May 5, 2020), https://www.cleveland.com/court-justice/2020/ 05/aclu-asks-
judge-to-release-20-ice-detainees-from-central-ohio-jail-with-dozens-of-coronavirus-cases html.


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On May 26, 2020, the Supreme Court denied a request by the federal government to put a tempo-

rary hold on Judge Gwin’s order. Not only do the sentencing guidelines suggest a non-custodial

sentence, but public health and safety dictate the same.

        Kenneth’s medical history poses a greater risk for severe COVID-19 related complications.

The link between hypertension and increased risk of fatality from COVID-19 is well docu-

mented. 12 At least one study has indicated that the COVID-19 morbidity rate for individuals with

hypertension is nearly three times higher than the death rate for individuals without hypertension. 13

Additionally, the Journal of the American Medical Association (JAMA) reports a higher case fa-

tality rate among those with preexisting conditions. Specifically, JAMA notes a 7.3 percent in-

crease for diabetes and 5.6 percent increase for cancer. 14 In short, incarceration would impose

health risks upon Kenneth grossly disproportionate to the severity of his offense.

        3. A Probationary Sentence Would Comply with § 3553(a)(6)’s Injunction to Avoid
           Unwarranted Sentencing Disparities

        The law requires the Court to “avoid unwarranted sentence disparities among defendants

with similar records who have been found guilty of similar conduct.” 18 U.S.C. § 3553(a)(6). A

review of cases involving defendants with similar records convicted of similar conduct, specifi-

cally violations of 18 U.S.C. § 1001(a)(2), shows that a probation-only sentence for Kenneth would

be consonant with—indeed, arguably required by—§ 3553(a)(6)’s mandate.



12
   See, e.g., Bamforth, Hypertension Could Be a leading factor in Coronavirus Deaths, Cleve-
land.com (March 12, 2020), https://www.cleveland.com/news/2020/03/ hypertension-could-be-a-
leading-factor-in-coronavirus-deaths-heres-what-to-know.html.
13
   Shaw, Mortality, Risk Factors of Patients with Cardiac Injury and COVID-19, American Journal
of Managed Care (March 25, 2020), https://www.ajmc.com/newsroom/mortality-risk-factors-of-patients-with-
cardiac-injury-and-covid19.
14
   Zunyou, Wu and McGoogan, Jennifer M. Characteristics of and Important Lessons from the
Coronavirus Disease 2019 (Covid-19) Outbreak in China. Journal of the American Medical As-
sociation (February 23, 2020). https://jamanetwork.com/journals/jama/fullarticle/2762130.



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       In United States v. Donald Peyatt, this Court sentenced Mr. Peyatt to three-years’ proba-

tion. United States v. Peyatt, No. 5:19-CR-227 (N.D. Ohio 2019), ECF #17. Peyatt —a 57-year-

old defendant with a prior federal conviction—made false statements to federal investigators dur-

ing the course of their investigation into his taxes. When federal agents asked Mr. Peyatt about

his side-business, he told them that he kept 5% of income from the business. In actuality, Peyatt

kept between 10% and 35% of the business’s income. Mr. Peyatt pled guilty to making the false

statement to the federal investigators. He avoided a prison term, receiving three-years’ probation.

       Moreover, in United States v. Samir Abdelqader, this Court also sentenced Mr. Abdelqader

to three years of probation. United States v. Samir Abdelqader, No. 1:15-CR-445 (N.D. Ohio

2015), ECF # 58. Abdelqader pled guilty to making false statements to FBI investigators during

a public corruption investigation, in violation of 18 U.S.C. § 1001(a)(2). Abdelqader made ma-

terially false statements to FBI agents conducting an investigation involving former Summit

County Councilwoman Tamela Lee. See United States v. Tamela Lee, No. 1:15-cr-00445 (N.D.

Ohio 2015), ECF #3 ¶¶177-178. Abdelqader falsified information in connection with Ms. Lee’s

corrupt involvement with his then-pending juvenile delinquency matter. Id. Abdelqader attacked

the victim and then Abdelqader struck the victim with a vehicle. Id at ¶17. A police officer

witnessed this incident. Id. Rather than accept responsibility, Abdelqader conspired with Ms. Lee

to influence the outcome of the case.

       Lee was ultimately convicted—after trial—of taking cash bribes in exchange for her at-

tempts to influence these court proceedings. This scheme between Abdelqader and Lee was a true

undermining of justice where Lee attempted to use her political position to interfere with the ad-

ministration of the law in exchange for money. Here again, this Court did not impose a prison




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term. Abdelqader and Lee’s intrusion into the integrity of judicial events was far worse than Ken-

neth’s conduct, and Kenneth should similarly not receive a sentence of imprisonment for his in-

fraction.

        These cases, and those referenced in Exhibit L, support the position that a non-custodial

sentence is not only appropriate, but necessary, under these circumstances. See Judgment as to

Sharon E. Piper; United States v. Piper, No. 3:15-CR-261 (N.D. Ohio Jan. 22, 2016) (Bank em-

ployee falsely stated that the vault at the branch was in balance when she knew it was missing

$145,000. Sentenced to probation and no fine was imposed.); Judgment as to David R. Sager,

United States v. Sager, No. 1:16-CR-300 (N.D. Ohio Oct. 20, 2017) (Where indictment charged

embezzlement, Defendant ultimately pled to false statement, obstruction, and false tax return. Sen-

tenced to probation and no fine was imposed.).

C.      The Court Should Not Impose a Substantial Fine.

        Guidelines § 5E1.2 governs the imposition of fines in cases like Kenneth’s. Part (c)(3) of

that section provides that, for an individual, like Kenneth, with an offense level of 4, the minimum

and maximum fines are $500 and $9,500, respectively. But the Guidelines explicitly state that

courts have discretion to decline to impose a fine as part of a Guidelines sentence. See, e.g.,

U.S.S.G. § 5E1.2; Judgment, ECF No. 12, United States v. Piper, No. 3:15-CR-261(N.D. Ohio

Jan. 22, 2016) (discussed supra at 33); Judgment, ECF No. 32, United States v. Sager, No. 1:16-

CR-300 (N.D. Ohio Oct. 20, 2017) (same). As explained below, no fine should be imposed, but

in the alternative, a fine of $500, or community service in lieu of a fine could be imposed in this

case.




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       First, unlike the Guidelines Sentencing Table, which varies the recommended sentencing

range for individuals with the same offense level based on the specific individual’s criminal his-

tory, the Guidelines Fine Table does not take an individual’s criminal history category into ac-

count. As previously discussed, Kenneth has no criminal history, and thus he is on the low end of

criminal history category I. Accordingly, any fine should be, at most, on the very lowest end of

the applicable range.

       Closely related to this first reason, no fine (or, at most, a $500 fine) should be imposed in

Kenneth’s case because his conduct, while wrongful, was an isolated offense of the lowest severity.

Like 18 U.S.C. § 3553, Guidelines § 5E1.2(d) requires courts to take into account the “need for

the combined sentence to reflect the seriousness of the offense (including the harm or loss to the

victim and the gain to the defendant), to promote respect for the law, to provide just punishment,

and to afford adequate deterrence” when determining the amount of a fine. (Emphasis added). All

of these factors point to the propriety of a modest fine in the same way that they pointed to the

appropriateness of a non-custodial sentence. See Part B, §2, supra. Further, the italicized portion

of the parenthetical language from (d)(1) is of particular note: Any fine the Court imposes must

take into account “the gain to the defendant.” Here, Kenneth gained nothing from his false state-

ment. He received no financial benefit and was indicted on the misguided bribery charges only

weeks after the agents came to his home. The complete absence of financial or other gain strongly

counsels either no fine or a minimum fine here.

       Third, a substantial fine (one in the thousands-of-dollars range) would have an outsized

negative impact on innocent third parties. In addition to maintaining all of his properties as well

as caring for the homes of his parents and cousin, Kenneth also works full time. Nevertheless, his

rental properties are heavily leveraged, and any significant detrimental effect on his cashflow could




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threaten the stability of his tenants’ housing. Likewise, any fine will impede Kenneth’s ability to

travel to Mississippi to visit his elderly parents and assist them as needed and will likewise make

it more difficult, if not impossible, for Kenneth to make necessary periodic repairs to his disabled

cousin’s home.

       Fourth, imposing either no fine or a minimal fine is consistent with past practice in this

district. In United States v. Piper, for instance, Defendant Piper was convicted of making false

statements regarding funds missing from the vault at the bank where she was employed. The Court

did not order that any fine be paid. Judgment, ECF No. 12, United States v. Piper, No. 3:15-CR-

261 (N.D. Ohio Jan. 22, 2016). Similarly, in United States v. Sager, Defendant Sager, initially

charged with embezzlement, ultimately pled guilty to false-statement and obstruction and false-

tax-return charges. Sager was sentenced to probation only, and the court declined to impose any

fine. Judgment, ECF No. 32, United States v. Sager, No. 1:16-CR-300 (N.D. Ohio Oct. 20, 2017).

See also, e.g., Judgment, ECF No. 7, United States v. Charleston, No. 1:12-CR-289 (N.D. Ohio

Aug. 10, 2012) (false-statement defendant sentenced to one year probation and a $1,000.00 fine).

       Finally, if, notwithstanding the above, the Court is of the view that a fine is necessary in

this case, Kenneth respectfully requests that the Court consider ordering community service of

equivalent value in place of any such fine. The Guidelines specifically contemplate imposition, in

certain situations, of “alternative sanctions in lieu of all or a portion of the fine” and further note

that “community service is the generally preferable alternative [sanction].” U.S.S.G. § 5E1.2(e).

Though community service would put its own unique strain on Kenneth’s busy schedule of work,

property maintenance, and service to family, such an arrangement would at least permit him to

keep up with his pressing professional and personal financial obligations.




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III.   CONCLUSION

       For all of these reasons, this Court should impose a probation-only sentence.

                                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE


       I hereby certify that on March 9, 2021, a copy of the foregoing was filed electronically.

Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.

                                                       /s/ Chris N. Georgalis
                                                       Christos N. Georgalis

                                                       Attorney for Defendant Kenneth Tyson




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